MCNAIR LAW FIRM, P.A.

ATl'ORNEYS AND COUNSELORS AT LAW

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CHARLOTTE, NORTH CAROLINA 28282

Aprn 17, 2001

Honorable H. Brent McKnight

Charles R. Jonas Federal Bldg., Roorn 230
401 West Trade Street, Room 168
Charlotte, North Carolina 28202

Re: Daniel E. Monahan v. Duke Ener,<.zv Corporation. et al.

File No. 3:00-CV-167-MCK
Dear Judge McKnight:

Thank you for the opportunity to serve in this matter

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Cll!l§`tl.,(_l`l'l'§v N.C.

TELB|'+OJMJB‘V-MFCM 3; 145

FACSIM|LE (704)347-4487

The case was mediated on Monday, April 16, 2001 here at the McNair LaW Firln in

Charlotte. Counsel and persons With authority to settle the case Were present

After a three hour mediation, the parties were able to resolve this matter. I arn pleased

that I could negotiate this case off of your calendar

Best Wishes,

McNair Law Firm, P. A.

MM

Chase B. Saunders
For the Firm

CBS:ro

ce: J ill Stricklin Cox, Esq.
Ray Radokovich, Esq.

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